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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
      v.                             : CRIMINAL NO. 07-785 (JLL)
                                     :
GEOFFRY KOUEVI                       : ORDER
                                     :
                  Defendant.         :
____________________________________:

LINARES, District Judge.

       Defendant Geoffry Kouevi having moved pursuant to Fed. R. Crim. P. 29 for a judgment

of acquittal; and the Court having considered the briefs presented as well as oral argument; and

for the reasons set forth on the record on August 5, 2009;

       IT IS on this 6th day of August, 2009,

       ORDERED that Kouevi’s motion for judgment of acquittal (Docket Entry No. 98) is

DENIED.

       IT IS SO ORDERED.

                                                             /s/ Jose L. Linares
                                                             United States District Judge




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